                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                    WESTERN DIVISION

                                                  )
EPIC GAMES, INC. and EPIC GAMES                   )
INTERNATIONAL S.à.r.l.,                           )
                                                  )
                 Plaintiffs,                      )
v.                                                )         Civil Action No.: 5:17-cv-00511-FL
                                                  )
B. B., by his Guardian ad Litem, PAMELA S.        )
CHESTEK,                                          )
                                                  )
                 Defendant.                       )
                                                  )
                                                  )

     NOTICE OF SETTLEMENT AND VOLUNTARY DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiffs Epic

Games, Inc. and Epic Games International, S.à.r.l., by and through their attorneys, hereby give

notice of the settlement and dismissal of this action with prejudice.

       This the 17th day of September, 2018.

                                              PARKER POE ADAMS & BERNSTEIN LLP

                                              /s/Christopher M. Thomas
                                              Christopher M. Thomas
                                              N.C. Bar No. 31834
                                              christhomas@parkerpoe.com
                                              Tasneem D. Delphry
                                              N.C. Bar No. 47697
                                              tasneemdelphry@parkerpoe.com
                                              PNC Plaza
                                              301 Fayetteville Street, Suite 1400 (27601)
                                              P.O. Box 389
                                              Raleigh, North Carolina 27602-0389
                                              Telephone:     (919) 835-4626
                                              Facsimile:     (919) 834-4564

                                              Attorneys for Plaintiffs




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                            CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing NOTICE OF SETTLEMENT AND

VOLUNTARY DISMISSAL was electronically filed this day with the Clerk of Court using the

CM/ECF system addressed to the following: Pamela S. Chestek As Guardian Ad Litem for B.B.,

who has consented to accept service on behalf of Defendant B.B.



       This the 17th day of September, 2018.



                                           PARKER POE ADAMS & BERNSTEIN LLP

                                           /s/Christopher M. Thomas
                                           Christopher M. Thomas
                                           N.C. Bar No. 31834
                                           christhomas@parkerpoe.com
                                           Tasneem D. Delphry
                                           N.C. Bar No. 47697
                                           tasneemdelphry@parkerpoe.com
                                           PNC Plaza
                                           301 Fayetteville Street, Suite 1400 (27601)
                                           P.O. Box 389
                                           Raleigh, North Carolina 27602-0389
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                                           Facsimile:     (919) 834-4564

                                           Attorneys for Plaintiffs




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